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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

__________________________________________
                                          )
RODNEY LAIL, et al.,                      )
                                          )
               Plaintiffs,                )
                                          )
       v.                                 )                    Civil Action No. 10-0210 (PLF)
                                          )
United States, et al.                     )
                                          )
               Defendants.                )
__________________________________________)


                                              ORDER

               Plaintiffs, proceeding pro se, filed the complaint in this matter on February 5,

2010. The caption of that complaint does not contain the addresses or phone numbers of the

plaintiffs and so violates Local Civil Rule 5.1(e)(1), which provides:

               The first filing by or on behalf of a party shall have in the caption
               the name and full residence address of the party. . . . If the party is
               appearing pro se, the caption shall also include the party’s
               telephone number.

               The Court also notes that one of the plaintiffs, Dan Green, purports to appear “on

behalf of Southern Holdings, Inc.” Complaint at 3. Mr. Green and the other individually named

plaintiffs are advised that a “corporation may only appear in federal court through licensed

counsel.” Lennon v. McClory, 3 F. Supp. 2d 1461, 1462 n.1 (D.D.C. 1998). It “cannot represent

itself and cannot appear pro se.” Id. Furthermore, Mr. Green cannot represent Southern

Holdings himself in his capacity as its chief executive officer. See Fisher-Cal Indus. v. Fed.

Aviation Admin., No. 98-1486, 1999 WL 229041, at *1 (D.C. Cir. 1999) (citing Palazzo v. Gulf

Oil Corp., 764 F.2d 1381, 1385 (11th Cir. 1985)); see also American Airways Charters, Inc. v.

Regan, 746 F.2d 865, 873 n.14 (D.C. Cir. 1984). The plaintiffs thus will not be permitted to
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raise claims on behalf of Southern Holdings, Inc., unless a licensed attorney represents the

corporation before this Court.

               In light of the errors apparent on the face of the plaintiffs’ complaint, it is hereby

               ORDERED that the plaintiffs shall either secure the services of licensed counsel

to represent Southern Holdings, Inc., before this Court, or renounce any attempt to bring claims

on behalf of the corporation; and it is

               FURTHER ORDERED that the plaintiffs shall file an amended complaint that

complies with the local rules of this Court, including Local Civil Rule 5.1(e)(1), on or before

March 12, 2010. Failure to comply with this Order may result in dismissal of the complaint.

               SO ORDERED.


                                               /s/_______________________________
                                               PAUL L. FRIEDMAN
                                               United States District Judge
DATE: February 22, 2010




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